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 6 Attorneys for Plaintiff
   United States of America
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          CASE NO. 2:13-CR-00304 MCE
                                                        CASE NO. 2:07-CR-00348 MCE
12                                Plaintiff,
                                                        STIPULATION REGARDING EXCLUDABLE
13                         v.                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                        FINDINGS AND ORDER
14   DARRON ANTJUAN REED,
                                                        DATE: May 15, 2014
15                               Defendant.             TIME: 9:00 a.m.
                                                        COURT: Hon. Morrison C. England, Jr.
16
17                                              STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and
19 through defendant’s counsel of record, hereby stipulate as follows:

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 1          1.      By previous order, this matter was set for status on May 15, 2014. It is noted that the

 2 matter consists of two related cases, including a petition alleging a violation of the terms of supervised
 3 release in case CR S 07-348 MCE.
 4          2.      By this stipulation, defendant now moves to continue the status conference until June 26,

 5 2014, and to exclude time between May 15, 2014, and June 26, 2014, under Local Code T4, in case CR
 6 S 13-304 MCE.
 7          3.      The parties agree and stipulate, and request that the Court find the following:

 8                  a)     The government has represented that the discovery associated with this case is

 9          primarily physical evidence, which counsel for the defendant has now reviewed.

10                  b)     Counsel for defendant desires additional time to conduct additional research

11          regarding the pending charges, and to pursue potential resolution.

12                  c)     Counsel for defendant believes that failure to grant the above-requested

13          continuance would deny him the reasonable time necessary for effective preparation, taking into

14          account the exercise of due diligence.

15                  d)     The government does not object to the continuance.

16                  e)     Based on the above-stated findings, the ends of justice served by continuing the

17          case as requested outweigh the interest of the public and the defendant in a trial within the

18          original date prescribed by the Speedy Trial Act.

19                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

20          et seq., within which trial must commence, the time period of May 15, 2014 to June 26, 2014,

21          inclusive, is deemed excludable in case CR S 13-304 MCE pursuant to 18 U.S.C.§

22          3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by the Court

23          at defendant’s request on the basis of the Court’s finding that the ends of justice served by taking

24          such action outweigh the best interest of the public and the defendant in a speedy trial.

25          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

26 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
27 must commence.
28          IT IS SO STIPULATED.

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 1
     Dated: May 13, 2014                         BENJAMIN B. WAGNER
 2                                               United States Attorney
 3
                                                 /s/ PHILIP A. FERRARI
 4                                               PHILIP A. FERRARI
                                                 Assistant United States Attorney
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 7
     Dated: May 13, 2014                         /s/ JASON LAWLEY
 8                                               JASON LAWLEY
                                                 Counsel for Defendant
 9
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12
                                          ORDER
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           IT IS SO ORDERED.
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     Dated: May 13, 2014
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